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                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

  IN RE: COOK MEDICAL, INC., IVC FILTERS
                                                          Case No. 1:14-ml-2570-RLY-TAB
  MARKETING, SALES PRACTICES AND
                                                                            MDL No. 2570
  PRODUCTS LIABILITY LITIGATION

  This Document Relates to Plaintiff:
  DEBRA NEELY
  Civil Case # 1:21-cv-6393


       ORDER GRANTING MOTION TO SUBSTITUTE PARTY PLAINTIFF



        The Court has considered the Plaintiff’s Motion to Substitute Party Plaintiff.

 IT IS ORDERED that the Motion to Substitute Party Plaintiff is GRANTED, and Diane Myers,

 on behalf of Decedent Debra Neely, is substituted as Plaintiff in the above referenced action.

        Dated this _______ day of ___________, 2023.




                                                      RICHARD L. YOUNG, JUDGE
                                                      United States District Court
                                                      Southern District of Indiana
